      Case 1:23-cv-00142-BLW Document 117-2 Filed 05/04/23 Page 1 of 4




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                       UNITED STATE DISTRICT COURT
                            DISTRICT OF IDAHO

 PLANNED PARENTHOOD GREAT \IORTH-
 WEST, HAWAII, AIASKA, INDIANA, KEN-             Case No. 1:23-cv-00142-BLW
 TUCKY, on behalf of itself, its staff, physi-
 cians and patients, CAITLIN GUSTAFSON,          DECLARATION OF
 M.D., on behalf of herself and her patients,    CHRISTOPHER BOYD
 and DARIN L. WEYHRICH, M.D., on behalf
 of himself and his patients,
                Plaintiffs,

 v.
 RAUL LABRADOR, in his capacity as the At-
 torney General of the State of Idaho; MEM-
 BERS OF THE IDAHO STATE BOARD OF
 MEDICINE and IDAHO STATE BOARD OF
 NURSING, in their offrcial capacities,
 COUNTY PROSECUTING ATTORNEYS, iN
 their official capacities,
                Defendants.
         Case 1:23-cv-00142-BLW Document 117-2 Filed 05/04/23 Page 2 of 4




         I, CHRISTOPHER BOYD, hereby declare and state as follows:

         1.    I am the duly elected prosecuting attorney for Adams County, Idaho,
and am named as a Defendant in this action.

         2.    The Idaho Attorney General's Office never sent me a copy of the Attor-

ney General's March 27, 2023letter to Representative Brent Crane (the "Crane Let-

ter").

         3.    I received that letter only in connection with this litigation.

         4.    I did not, and do not, regard the Crane Letter as any type ofguidance or

directive to me or to my office from the Office of the Attorney General.

         5.    My office has taken no position regarding the scope of enforcement un-

der Idaho Code S 18-622.

         6.    My prosecutorial decisions are based on my own independent legal duty,

interpretation of the law, and discretion.

         7.    This is true no less with respect to any prosecution under Idaho Code

s 18-622.

         8.    The Attorney General has no supervisory authority over my work as a

prosecutor or the power to direct me to initiate any prosecution without my consent.

         9.    I am aware of no prosecution, or threat of prosecution, brought by any-
one in my office against Plaintiffs under Idaho Code S 18-622.

         10. To my knowledge, none of the Plaintiffs in this action have facilities in
my county.

         I declare under penalty of perjury that the foregoing is true and correct.



 DECLARATION OF CHRISTOPHER BOYD – 2
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 Dated: May 4,2023

                                            kzn
                                          Christopher Boyd
                                          Adams County Prosecuting Attorney


 State ofldaho         )
                       )ss
 County of Adams )

 I, Patricia Paulin a Notary Public, do hereby certifu that on Thursday, May 4,2023,
 Christopher Boyd, Adams County Prosecuting Attorney personally known to be the
 person whose name is subscribed to the foregoing instrument.



               PATRICIA PAUUN
           coMMlssloN f 201913ffi
               NOTAHY PUBLIC                      Paulin
               STATE OF IDA}IO
          coMMlssloN BGIRES 07 10512025   Notary for the State of Idaho
                                          County of Adams
                                          My Commission Expires: 0710512025




DECLARATION OF CHRISTOPHER BOYD – 3
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                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 4, 2023, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system which sent a Notice of Electronic
Filing to the following persons:

Colleen R. Smith                          Peter G. Neiman*
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                                          *Pro hac vice




                                         /s/ Lincoln Davis Wilson
                                       LINCOLN DAVIS WILSON
                                       Deputy Attorney General




    DECLARATION OF CHRISTOPHER BOYD – 4
